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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

JIMMY ADAMS, ET AL.,      §
                          §
             Plaintiffs,  §
                          §
v.                        § CIVIL ACTION NO. 4:22-cv-01547
                          §
HOUSTON COMMUNITY COLLEGE §
SYSTEM,                   §
                          §
             Defendant.   §

         JOINT MOTION FOR ENTRY OF AGREED SCHEDULING ORDER

         Plaintiffs, Jimmy Adams, et al., (“Plaintiffs”) and Defendant Houston Community

College System (“HCC” or “the College”), file their Joint Motion for Entry of Agreed

Scheduling Order as follows:

         1.    On April 4, 2023, the Court held a status conference to discuss this matter.

During the status conference the Court requested the Parties to confer and submit an agreed

proposed scheduling order. The Parties conferred and hereby submit the proposed Agreed

Scheduling Order filed contemporaneously with this motion.

                                          Prayer

         2.    The Parties agree to the deadlines set forth in the proposed Agreed

Scheduling Order and request that the Court approve and enter the Agreed Scheduling

Order.

Respectfully submitted,

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                            CERTIFICATE OF SERVICE

       I certify that on this the May 24, 2023, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system, which will send notification of such filing to the
following:

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